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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES )
Vv. ) Criminal Case No. 21-150 (RJL)
JAMES DOUGLAS RAHM, JR.,
Defendant.
)

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(February “2, 2023) [Dkt. #77]

Before the Court is defendant James Douglas Rahm, Jr.’s Emergency Motion for
Release Pending Appeal. The defendant submitted the Motion on February 16; 2023. A hearing
on the Motion was held on February 21, 2023. The parties agree that the defendant does not
pose a danger to the community or a risk of flight and the appeal is not for the purposes of
delay. The Court finds that, however, the defendant has met his burden to denionstrate that his
appeal raises substantial questions of law and fact which if decided in his favor on appeal
would likely result in a reduced imprisonment sentence that would expire before the appeal
concludes. Accordingly, the defendant’s Motion is GRANTED and the execution of the
defendant’s sentence is hereby STAYED pending the outcome of the appeals in United States

v. Miller, No. 22-3041 (D.C. Cir.) and United States v. Rahm, 23-3012 (D.C. Cir).

SO ORDERED.

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RICHARD J. LON
United States District Judge
